                      Case 2:07-cr-00122-MEF-CSC Document 41 Filed 12/13/07 Page 1 of 5
FA() 2451t    Rc         Jtidgiicn: iii   (un    as




                                          UNITED STATES DISTRICT COURT
                        MiDDLE                                    District of                                 ALABAMA

         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                          V.
                   SILKE JOHNSON
                                                                          Case Number:                       2:O7crl 22-001 -MEF

                                                                                                             (WO)

                                                                          USM Number:                        122 18-002

                                                                          Daniel Hamm
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)          1 of the Indictment on August 27, 2007

  pleaded nob contendere to count(s)
  which was accepted by the court.
III was found guilty on count(s)          -
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended               Count
18:116(a)                         Thefl by Officer/Employee of Gaming Est. On Reservation                    8/22/05                       1




       The defendant is sentenced as provided in pages 2 through                  5         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 984.

LI The defendant has been found not guilty on count(s)           ______________________________________________

LI Count(s)                                              LI is     LI are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in econoimc circumstances.

                                                                           December 4, 2007
                                                                           Date of 1mpositioj.xJudgment,




                                                                                       of Judge




                                                                           MARK E. FULLER, CHIEF UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge



                                                                                  13        ci4me._
                                                                           Date
V.) 24511     (Rc. ()(U5
                         Case 2:07-cr-00122-MEF-CSC Document 41 Filed 12/13/07 Page 2 of 5
                         JLId g Incffl i a (nininae
              Sheet 4- --Pmbat ui     I



                                                    I
                                  I
                                                                                                             .biI1cnt           2                $
                             L



DEIENT)AN'1:                              ILKI JOHNSON
CASE NUMBER:                          2:07cr122-O0l-MEF
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:

 5 Years




 The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic dnig tests
 thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
 L The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     if this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
    1)      the defendant shall not leave the judicial district without the pernussion of the court or probation officer;
    2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
            each month;
    3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)      the defendant shall support his or her dependents and meet other family responsibilities;
    5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
    6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
   10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
   II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
   12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
   13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant's compliance with such notification requirement.
                    Case 2:07-cr-00122-MEF-CSC Document 41 Filed 12/13/07 Page 3 of 5
           Rev. O() .Iudgtiient in a nmt" £
          SIcet4(    I'robaion                __________________________________________________________________ -
           II                                                                                                        1Ilgi1ient -icc ______________   _______________________
I)EFENDANT:              SILKE JOhNSON
CASE NUMBER:             2:07cr122-OO1-MEF

                                      SPECIAL CONDITIONS OF SUPERVISION



Defendant shall participate in a program of drug testing administered by the United States Probation Office.

Defendant shall provide the probation officer any requested financial information.

Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
\() 24t
                         Case 2:07-cr-00122-MEF-CSC Document 41 Filed 12/13/07 Page 4 of 5
              Rev (J(i)l ftidnieiit in a Criiiiina 1 ''sc
             Sheet      Criminal Minctar l'ena
                                                                                                          iludiiiet    Pagc4nf             ,Hiliiiii

bEiENDANT:                              SIIK[ JOHNSON
CASE NUMBER:                            2:O7crl 22-OO .-MEF
                                                     CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                              Fine                               Restitution
TOTALS                $ 100                                                 $                                    S 25,000



     The determination of restitution is deferred until _______. An Amended Judgment in a Criminal Case (AO 245 C) will be entered
     after such determination.

 fl The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(t), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                       Total Loss*                           Restitution Ordered              Priority or Percentage
 Tallapoosa Entertainment Ctr.                                                                            $25,000
 Attn: Arthur Mothershed,
 Chief Financial Officer
 118 Poarch Rod
 P.O. Box 1027
 Atmore, AL 36504




 TOTALS                                    $                                           $                   25000


 LI Restitution amount ordered pursuant to plea agreement S

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          X the interest requirement is waived for the                LI fine X restitution.

          LI the interest requirement for the               LI line     II restitution is modified as follows:



 * Findings for the total amount ot'losses arc required tinder (liapters I 09A. 110. Il OA. and II 3A ofTitle IS for offenses committed on or after
 September 13, 1994, but hefhre April 23. 1')96
\() 25U
                      Case 2:07-cr-00122-MEF-CSC Document 41 Filed 12/13/07 Page 5 of 5
           (Rev 06/05) Judmcnt        (iiniina)
           Sheet 6 -- 5chedule of I'ainents           _______________________________________________________________________

                                      III             II'II'Ii                                       -                            I                -:Ii
                I                                 1
                                                                                                                                      I ((gn11t   Page   )     ol       )      -
I)EFENDANT:                  SILKE JOHNSON
CASE NUMBER:                 2:07cr122-00l-MEF


                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A X Lump sum payment of S 25, 100                                           due immediately, balance due

           LI   not later than ___________________________ , or
           x inaccordance                C,      D,    LI E,or x Fbelow;or

B LI Payment to begin immediately (may be combined with                                       L C,             j D, or          F below); or

C          Payment in equal ______________ (e.g., weekly, monthly, quarterly) installments of $ ______________ over a period of
          ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after the date of this judgment; or

 D    II Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ _____________ over a period of
         _____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

 E LI Payment during the term of supervised release will commence within ____________ (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    X Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama,
           P.O. Box 711, Montgomery, AL 36101.
           Any balance remaining at the start of supervision shall be paid at the rate not less than of $250 per month.

 Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 X Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
      Defendant                   Case Number                                    Total Amount                 Joint/Several Amount                Payee
      Silke Johnson               2:07cr122-00l-MEF                              $25,000                       $25,000                       Tallapoosa Entertainment Center
      Valerie Patterson           2:07cr122-002-MEF                              $25,000                       ¶25,000                       Tallapoosa Entertainment Center


 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 LI The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall he applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest. () community restitution, (7) penalties, and (5) co/t. including Co.'tt ot prosecution and court costs.
